
FINDINGS OF FACT AND RECOMMENDATION OF THE CLAIM INVESTIGATOR
In compliance with W.Va. Code §14-2A-12(d) and (e), the Claim Investigator of the Court of Claims finds as follows:
1. The victim, age 9, the claimant’s daughter, was the victim of criminally injurious conduction on February 11, 1994, in Crab Orchard, Raleigh County. (See Application, Section 22).
2. The victim is eligible for benefits from the Department of Health and Human Resources in the form of Medicaid which equals benefits available from the Crime Victims Compensation Fund. (See Application, Section 45).
3. W.Va. Code §14-2A-3(b) lists Medicaid benefits as a collateral source.
Therefore, the Claim Investigator recommends that no award be made because the claimant suffered no unreimbursed economic loss.
W. F. Martin CLAIM INVESTIGATOR
